                     Case 20-10311-LMI      Doc 11       Filed 01/14/20   Page 1 of 8

                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                                                      CASE NO.: 20-10311-BKC-LMI
                                                                   PROCEEDING UNDER CHAPTER 13

IN RE:

SEYED MASOUD MOGHANI

_____________________________/
DEBTOR

                          TRUSTEE'S CERTIFICATE OF SERVICE
                     OF TRUSTEE'S NOTICE OF REQUIRED DOCUMENTS

   Nancy K. Neidich, Esquire, Chapter 13 Trustee, served the

   1. Trustee's Notice of Required Documents,

   2. Debtor's Checklist for 341 Meeting of Creditors,

   3. Chapter 13 Meeting of Creditors Preparation Sheet,

   4. Chapter 13 Confirmation Preparation Sheet,

   5. National Data Center brochure,

    was served through NEF on the Debtor's attorney and by US Mail on the Debtor at the address below on
the business day after this document was filed with the Court.



                                                            Submitted by
                                                            NANCY K. NEIDICH, ESQUIRE
                                                            STANDING CHAPTER 13 TRUSTEE
                                                            P.O. BOX 279806
                                                            MIRAMAR, FL 33027-9806
              Case 20-10311-LMI    Doc 11    Filed 01/14/20   Page 2 of 8
                TRUSTEE'S CERTIFICATE OF SERVICE OF TRUSTEE'S NOTICE OF REQUIRED DOCUMENTS
                                                                    CASE NO.: 20-10311-BKC-LMI

                                   SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
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9513 SW 125 TERRACE
MIAMI, FL 33176
Case 20-10311-LMI    Doc 11    Filed 01/14/20   Page 3 of 8
  TRUSTEE'S CERTIFICATE OF SERVICE OF TRUSTEE'S NOTICE OF REQUIRED DOCUMENTS
                                                      CASE NO.: 20-10311-BKC-LMI
Case 20-10311-LMI    Doc 11    Filed 01/14/20   Page 4 of 8
  TRUSTEE'S CERTIFICATE OF SERVICE OF TRUSTEE'S NOTICE OF REQUIRED DOCUMENTS
                                                      CASE NO.: 20-10311-BKC-LMI
Case 20-10311-LMI    Doc 11    Filed 01/14/20   Page 5 of 8
  TRUSTEE'S CERTIFICATE OF SERVICE OF TRUSTEE'S NOTICE OF REQUIRED DOCUMENTS
                                                      CASE NO.: 20-10311-BKC-LMI
Case 20-10311-LMI    Doc 11    Filed 01/14/20   Page 6 of 8
  TRUSTEE'S CERTIFICATE OF SERVICE OF TRUSTEE'S NOTICE OF REQUIRED DOCUMENTS
                                                      CASE NO.: 20-10311-BKC-LMI
Case 20-10311-LMI    Doc 11    Filed 01/14/20   Page 7 of 8
  TRUSTEE'S CERTIFICATE OF SERVICE OF TRUSTEE'S NOTICE OF REQUIRED DOCUMENTS
                                                      CASE NO.: 20-10311-BKC-LMI
Case 20-10311-LMI    Doc 11    Filed 01/14/20   Page 8 of 8
  TRUSTEE'S CERTIFICATE OF SERVICE OF TRUSTEE'S NOTICE OF REQUIRED DOCUMENTS
                                                      CASE NO.: 20-10311-BKC-LMI
